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 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                            CASE NO. 1:14-CR-181-LJO
11
                                   Plaintiff,             STIPULATION AND PROTECTIVE ORDER
12
                            v.
13
     DAVID MANUKYAN,
14                                Defendant.

15

16          Plaintiff United States of America, by and through its attorney of record, Assistant United States

17 Attorney MATTHEW MORRIS, and defendant DAVID MAUKYAN by and through his attorney

18 MARC DAYS, hereby stipulate as follows:

19          1. Portions of the discovery in this case are expected to contain personal and financial

20 information including, but not limited to, social security numbers, addresses, telephone numbers, email

21 addresses, and credit card account numbers (hereinafter “Protected Information”).

22          2. In the absence of a protective order, numerous redactions would be necessary to avoid the

23 unauthorized disclosure or dissemination of Protected Information to individuals not party to the court

24 proceedings in this matter.

25          3. By this stipulation, the parties jointly request that the Court issue a protective order pursuant to

26 Rule 16(d) of the Federal Rules of Criminal Procedure and its general supervisory authority.
27          4. The Protective Order applies to all discovery containing Protected Information. Discovery

28 that does not contain Protected Information is not subject to the Protective Order.


      STIPULATION AND PROPOSED PROTECTIVE ORDER           1
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 1          5. Defense Counsel, defense counsel(s) staff, investigator(s), and expert(s): Discovery

 2 containing Protected Information may be shared, copied and viewed by members of the defense team

 3 listed above only as necessary for the preparation of the defense in this case. This includes the

 4 defendant’s counsel as well as any staff, investigator, or expert hired by defense counsel. Discovery

 5 containing Protected Information shall not be disseminated to any other person except by further order

 6 of the Court. The terms “staff,” “investigator,” and “expert” shall not be construed to describe any

 7 defendant or other person not: (1) regularly employed by counsel, or (2) licensed as an investigator, or

 8 (3) retained as an expert.

 9          6. Defendants: The defendants may review items containing un-redacted Protected Information

10 in the presence of defense counsel, defense counsel(s) staff, investigator(s), or expert(s). Those persons

11 who have access to un-redacted Protected Information shall not give a copy of the un-redacted Protected

12 Information to the defendants without further order of the Court.

13           7. Others: Neither the defendant, defense counsel, or defense counsel’s staff, investigator(s),

14 and expert(s) shall give documents that contain Protected Information (or copies of such documents) to

15 any person, or otherwise transmit Protected Information to any person without providing a copy. Copies

16 of documents in which all Protected Information has been redacted may be given to other parties without

17 further order of the Court.

18          8. Court Filings: Parties will redact Protected Information from any Court filings and refrain

19 from otherwise placing Protected Information in the public record. If necessary to file Protected

20 Information in Court filings, parties will either redact Protected Information from public filings or seek

21 leave of the Court to file materials containing that information under seal, if redaction would frustrate

22 the purposes of making the filing.

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 1          9. Nothing in this stipulation will be construed to prevent defense counsel, counsel’s staff,

 2 investigator(s), or expert(s) a reasonable opportunity to prepare.

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 4          IT IS SO STIPULATED.

 5 Dated: September 18, 2014                                 BENJAMIN B. WAGNER
                                                             United States Attorney
 6

 7                                                   By: /s/ MATTHEW G. MORRIS
                                                         MATTHEW G. MORRIS
 8                                                       Assistant United States Attorney
 9

10 Dated: September 18, 2014                                 HEATHER E. WILLIAMS
                                                             Federal Defender
11

12                                                   By: /s/ MARC DAYS (auth. by email)
                                                         MARC DAYS
13                                                       Assistant Federal Defender
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     IT IS SO ORDERED.
16

17      Dated:    September 18, 2014                         /s/ Lawrence J. O’Neill
                                                       UNITED STATES DISTRICT JUDGE
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      STIPULATION AND PROPOSED PROTECTIVE ORDER          3
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